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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

   DANIEL D’AMBLY, AARON WOLKIND, STEVE
   HARTLEY, RICHARD SCHWETZ, JOBEL BARBOSA,                 CIVIL ACTION
   MATTHEW REIDINGER, JOHN HUGO, SEAN-                      NO.: 2:20-cv-
   MICHAEL DAVID SCOTT, THOMAS LOUDEN,                      12880-
   ZACHARY REHL, AMANDA REHL, K.R., a minor, by             JMV-JSA
   and through her father ZACHARY REHL, and her mother
   AMANDA REHL, MARK ANTHONY TUCCI,
                                                            Hon. John M.
            Plaintiffs,                                     Vazquez, U.S.D.J.
      vs.

   CHRISTIAN EXOO a/k/a ANTIFASH GORDON, ST.
   LAWRENCE UNIVERSITY, TRIBUNE PUBLISHING
   COMPANY, NEW YORK DAILY NEWS, VIJAYA
   GADDE, TWITTER, INC., COHEN, WEISS AND
   SIMON, LLP, NICK STRICKLAND, TORCH ANTIFA
   NETWORK, UNNAMED ASSOCIATES 1-100


             Defendants.



     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CHRISTIAN
      EXOO’S MOTION UNDER FEDERAL RULE OF CIVIL PROCEDURE
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                     I.     INTRODUCTION

        Defendant Christian Exoo (“Defendant Exoo”) seeks Rule 11 sanctions

  against Plaintiffs’ Counsel, Patrick Trainor, Esq. in connection with the filing of

  Plaintiffs’ Second Amended Complaint (the “SAC”). Plaintiffs asserted an

  unauthorized claim based on a new legal theory and added two unauthorized

  defendants. These actions greatly exceeded the narrow scope of the Court’s Order

  granting leave to amend. In addition, the new claim is based on a criminal statute

  that affords no private right of action. Appropriate remedies include requiring

  Plaintiffs to pay Defendant Exoo’s attorneys’ fees relating to this motion,

  Defendant Exoo’s anticipated motion to strike and motion to dismiss, and other

  relief that the Court may deem appropriate.

        First, the pleading greatly exceeds the scope of the leave granted to Plaintiffs

  in the Court’s November 1, 2021 Opinion and Order dismissing all claims against

  Defendants Exoo, St. Lawrence University, Vijaya Gadde, and Twitter, Inc. (the

  “Section 530 Defendants”) in Plaintiffs’ First Amended Complaint (“FAC”). ECF

  Nos. 99 (the “Opinion”) and 100 (the “Order”). The Court afforded Plaintiffs leave

  to amend their pleading for the limited purpose of remedying the deficiencies

  identified in the Court’s Opinion. See ECF No. 99, Opinion at 23 (“Plaintiffs shall

  … file an amended complaint that cures the deficiencies noted herein.”). See also

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  ECF No. 100, Order (granting Plaintiffs “leave to file an amended pleading that

  remedies the identified deficiencies.”).

        In violation of the Opinion and Order, Plaintiffs’ SAC added two

  unauthorized named defendants to the case and added an unauthorized claim

  against the Section 530 Defendants for violation of Section 610 of the Labor-

  Management Relations Disclosure Act (“LMRDA,” 29 U.S.C. § 530) based on a

  new legal theory of liability. Plaintiffs’ addition of new parties, a new claim, and a

  new legal theory without court authorization is sanctionable conduct.

        Second, after the Court dismissed Plaintiffs’ claims against Defendant Exoo

  for violation of four criminal statutes with no private right of action, Plaintiffs filed

  the SAC which asserts a claim under a fifth criminal statute with no private right of

  action against the Section 530 Defendants. See ECF No. 99, Opinion at 20-21

  (dismissing Counts IV, V and VI of the FAC); SAC at Count VII, ¶¶ 204-211.

  Plaintiffs continued assertion of criminal statutes with no private right of action is

  frivolous and sanctionable, particularly in light of the Court’s Opinion.


                      I.     PROCEDURAL HISTORY

        On September 21, 2020, Plaintiff Daniel D’Ambly commenced the instant

  action against the Section 530 Defendants and Defendants Tribune Publishing

  Company, New York Daily News, and Cohen, Weiss and Simon, LLP. The

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  Complaint included claims asserted against Defendant Exoo under four criminal

  statutes for which no private right of action exists (Counts IV, V, and VI). Count

  IV for Cyber-harassment (N.J.S.A. 2C:33-4.1) and Stalking (N.J.S.A. 2C:30-31(a))

  was based on two New Jersey Criminal Statutes, while Count V for Interstate

  Communications (18 U.S.C. § 875(c) and Count VI for Stalking 18 U.S.C.

  2261A(2) were based on federal criminal statutes.

        On December 6, 2020, Defendant Exoo filed a motion to dismiss the claims

  against him. ECF Nos. 41 through 41-8. Among other things, Defendant Exoo’s

  motion sought dismissal of the claims under the four criminal statutes because

  none of those statutes provide a private right of action. See ECF No. 41-1, Exoo

  MOL at 11-16.

        Rather than oppose Defendant Exoo’s motion to dismiss, Plaintiff D’Ambly

  filed a motion seeking leave to amend his Complaint on January 10, 2021, to add

  additional Plaintiffs and allegations relating to those Plaintiffs. ECF No. 47

  through 47-6.

        On March 25, 2021, Plaintiff D’Ambly’s motion to amend his Complaint to

  add the new Plaintiffs was granted. ECF No. 65.

        On March 25, 2021, Plaintiffs filed the FAC adding the following twelve

  additional Plaintiffs: Aaron Wolkind, Steve Hartley, Richard Schwetz, Jobel

  Barbosa, Matthew Reidinger, John Hugo, Sean-Michael David Scott, Thomas

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  Louden, Zachary Rehl, Amanda Rehl, K.R., and Mark Anthony Tucci. Counts IV

  through VI of the FAC asserted claims for violations of the same four criminal

  statutes with no private right of action as the original Complaint. The new

  Plaintiffs joined Defendant D’Ambly in asserting the federal criminal statutes in

  Counts V and VI against Plaintiff D’Ambly.

        On April 22, 2021, Defendant Exoo filed a motion to dismiss the claims

  against him in the FAC. ECF Nos. 79 through 79-23. Among other things,

  Defendant Exoo’s second motion to dismiss sought dismissal of the claims under

  the four criminal statutes because they do not afford Plaintiffs a private right of

  action. See ECF No. 79-1, Exoo MOL at 26-29.

        Plaintiffs filed their opposition to the motion on May 20, 2021 (ECF No. 83)

  and Defendant Exoo filed his reply brief on June 17, 2021 (ECF No. 89). In his

  reply brief, Defendant Exoo noted that Plaintiffs’ opposition papers failed to

  address any of the cases cited by Defendant Exoo holding that there is no private

  cause of action for the criminal statutes and Plaintiffs failed to cite any legislative

  language to support an argument that a private right of action does exist. See id. at

  12.

        On November 1, 2021, the Court granted Defendant Exoo’s motion to

  dismiss. See Opinion and Order, ECF Nos. 99-100, annexed to the Declaration of

  Christopher Marlborough served herewith as Exhibits A and B respectively.

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  Specifically, the Court dismissed Plaintiffs’ claims against Defendant Exoo for

  Tortious Interference, Intrusion Upon Seclusion, Federal RICO, New Jersey RICO,

  and the three Counts asserted under four criminal statutes. The Court noted that the

  criminal statutory claims were dismissed because no private right of action exists

  for those claims. See ECF No. 99, Opinion at 20-21. In its Opinion and Order, the

  Court provided Plaintiffs “leave to file an amended pleading that remedies the

  identified deficiencies.” See ECF No. 100, Order. See also ECF No. 99, Opinion at

  23 (“Plaintiffs shall have thirty (30) days to file an amended complaint that cures

  the deficiencies noted herein.”).

          On November 30, 2021, Plaintiffs filed their SAC. See ECF No. 103,

  Marlborough Decl., Exh. C. With respect to the claims against Defendant Exoo,

  Plaintiffs dropped their claims for Intrusion Upon Seclusion, New Jersey RICO

  and violations of the four criminal statutes asserted in the FAC. However,

  Plaintiffs added a new unauthorized claim against the Section 530 Defendants

  premised on Section 610 of the LMRDA (29 U.S.C. § 530) based on a new legal

  theory of liability.1 Plaintiffs also named two additional Defendants, Torch Antifa

  Network and Nick Strickland without seeking Court authorization to add those

  parties.



  1
    While the SAC erroneously cites this statute as 18 U.S.C. § 530, it is clear from the reference to the LMRDA and
  the quotation in paragraph 205 of the SAC that Plaintiffs are referring to 29 U.S.C. § 530.
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                     II.    ARGUMENT

  A.    Legal Standard

        “Rule 11 [of the Federal Rules of Civil Procedure] requires that an attorney

  who submits a complaint certify that there is a reasonable basis in fact and law for

  the claims made in order to discourage the filing of frivolous, unsupported, or

  unreasonable claims.” Oswell v. Morgan Stanley Dean Witter & Co., Inc., 507 F.

  Supp. 2d 484, 488 (D.N.J. 2007). The Third Circuit has held that “‘[t]he legal

  standard to be applied when evaluating conduct allegedly violative of Rule 11 is

  reasonableness under the circumstances.’” Id. (quoting Ford Motor Co. v. Summit

  Motor Prod., Inc., 930 F.2d 277, 239 (3d Cir. 1991)). “Reasonableness in the

  context of a Rule 11 inquiry has been defined as ‘an objective knowledge or belief

  at the time of the filing of a challenged paper that the claim was well-grounded in

  law and fact.’” Oswell, 507 F. Supp. 2d at 489 (quoting Ford Motor Co., 930 F.2d

  at 239). Rule 11 sanctions are warranted when a claim is patently unmeritorious or

  frivolous. See Oswell, 507 F. Supp. 2d at 489.

        F.R.C.P. Rule 15(a)(2) provides that in all cases, other than those prescribed

  in Rule 15(a)(1) (not relevant here), “a party may amend its pleading only with the

  opposing party's written consent or the court's leave.” Sanctions are an appropriate

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   remedy when a Plaintiff files an amended Complaint and the amendments exceed

   the scope of the Court’s grant of leave or the defendants’ consent. See Dover Steel

   Co., Inc. v. Hartford Acc. and Indem. Co., 151 F.R.D. 570 (E.D. Pa. 1993) (finding

   monetary sanctions was the appropriate remedy because the filing of the improper

   amended complaint “necessitated the expenditure of attorney's fees by the

   defendants.”)

   B.    The Court Should Sanction Plaintiffs’ Counsel for Exceeding the Scope of
         the Court’s Leave to Amend

         Plaintiffs did not seek, nor were they granted leave to amend to add new

   parties, new claims, or new legal theories. Plaintiffs’ SAC goes far beyond the

   scope of the amendment permitted in the Court’s November 1, 2021 Opinion and

   Order (ECF Nos. 99 and 100, respectively). See U.F.C.W. Local 56 Health &

   Welfare Fund v. J.D.’s Mkt., 240 F.R.D. 149, 153 (D.N.J. 2007) (“[S]ince

   Plaintiffs never even sought to amend and add the claims …, it is unfathomable

   that the generalized order permitting the amendment could somehow have included

   these unexpressed claims.”). The filing is clearly improper.

         When a complaint exceeds the scope of the permitted amendment, courts

   may, inter alia, appropriately treat an unapproved amendment as a violation of

   Rules 11 and 15(a), and award sanctions. See Dover Steel Co. v. Hartford Accident

   & Indem. Co., 151 F.R.D. 570, 575 (E.D. Pa. 1993) (awarding monetary sanctions

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   in the form of defendants’ attorneys’ fees where plaintiffs added unauthorized

   parties and asserted new legal theories in their amended complaint). See also

   Sciore v. Phung, Civil Action No. 1:18-cv-13220-NLH-AMD, 2021 U.S. Dist.

   LEXIS 190120, at *25 (D.N.J. Sep. 30, 2021) (granting defendants; motion for

   sanctions and requiring the payment of defendants’ attorneys’ fees where

   Plaintiffs’ amendment to include an unauthorized breach of contract claim “went

   far beyond the limited scope of amendment granted by” the court.)(internal

   quotations omitted). The Court should do the same here.

      C. The Court Should Sanction Plaintiffs’ Counsel for Asserting a Claim
         Under a Fifth Criminal Statute For Which No Private Right of Action
         Exists

         Plaintiffs seek relief under a fifth criminal statute with no private right of

   action immediately after claims under four other criminal statutes against

   Defendant Exoo were dismissed on the same basis. This conduct provides a

   separate basis for sanctions against Plaintiffs’ counsel.

         Private individuals generally lack the authority to enforce federal criminal

   statutes. Walsh v. Krantz, Civil Action No. 07-cv-616, 2008 U.S. Dist. LEXIS

   44204, at *11 (M.D. Pa. June 4, 2008). A federal criminal statute may provide an

   implied private right of action only if Congress so intended in enacting the criminal

   statute. See Thompson v. Thompson, 484 U.S. 174, 179 (1988) (holding that a

   private remedy will not be implied unless legislative intent can be inferred from
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   statutory language or elsewhere). See also Gonzaga Univ. v. Doe, 536 U.S. 273,

   284-85 (2002).

         First, the new claim asserted by Plaintiffs against the Section 530

   Defendants is a criminal statute that provides for a fine and imprisonment, but not

   civil monetary relief. The Statute provides:

         It shall be unlawful for any person through the use of force or
         violence, or threat of the use of force or violence, to restrain, coerce,
         or intimidate, or attempt to restrain, coerce, or intimidate any member
         of a labor organization for the purpose of interfering with or
         preventing the exercise of any right to which he is entitled under the
         provisions of this chapter. Any person who willfully violates this
         section shall be fined not more than $1,000 or imprisoned for not
         more than one year, or both.

         In the SAC, Plaintiffs quote part of the criminal statute but omit the

   fine and imprisonment in the statute. See SAC at ¶¶ 205, 211. Instead,

   Plaintiffs seek no less than $75,000 in civil damages. This relief is not

   authorized by the criminal statute.

         Second, it is well-settled that there is no private of action for violations of

   Section 610 of the LMRDA (29 U.S.C. § 530). See Martin v. Local 556, Transp.

   Workers Union of Am., AFL-CIO, Civil Action No. 3:14-cv-0500-D, 2014 U.S.

   Dist. LEXIS 122755, at *12 (N.D. Tex. Sep. 3, 2014) (“Section 530 does not

   contain any language suggesting that Congress intended to authorize a private

   cause of action.”); Rodriguez v. Serv. Emples. Int'l, 755 F. Supp. 2d 1033, 1048


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   (N.D. Cal. 2010) (“Section 530 does not give rise to a private cause of action.”);

   Schonfeld v. Raftery, 335 F. Supp. 846, 851 (S.D.N.Y. 1971) (“Plaintiff has no

   standing to enforce these criminal provisions”). Grant v. Communs. Workers of

   Am., Local 1101 (“Grant I”), Civil Action No. 13-cv-7917 (JMF), 2014 U.S. Dist.

   LEXIS 96585, at *6 n.3 (S.D.N.Y. July 15, 2014) (“is a criminal provision with no

   private civil right of action.”) citing Breininger v. Sheet Metal Workers Int'l Ass'n

   Local Union No. 6, 493 U.S. 67, 93 n.17 (1989); Grant v. Commc'ns Workers,

   Local 1101 (“Grant II”), Civil Action No. 13-cv-7917 (JMF), 2017 U.S. Dist.

   LEXIS 198188, at *19 (S.D.N.Y. Dec. 1, 2017) (dismissing plaintiffs’ claim under

   Section 530). In contrast to the many cases which hold that there is no private of

   action under Section 530. The undersigned was unable to identify a single case

   where a private right of action was found. This is unsurprising since “Section

   530 does not contain any language suggesting that Congress intended to authorize

   a private cause of action.” Martin, 2014 U.S. Dis. LEXIS 122755, at *12.

         Third, Plaintiffs have had notice of the prohibition against asserting criminal

   claims with no private right of action in this civil suit for more than a year, when

   Defendant Exoo filed his motion to dismiss Counts IV through VI of the original

   Complaint. See ECF No. 41-1. Plaintiffs were reminded of that prohibition in no

   uncertain terms in the Court’s Opinion and Order dismissing Counts IV through VI

   of the FAC. See ECF Nos. 99 at 20-21; ECF No. 100. In response, Plaintiffs’

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   Counsel asserted a claim under a fifth criminal statute that affords no private right

   of action against the Section 530 Defendants. Plaintiffs’ recalcitrant effort to

   expand the scope of this action and exploit the Court’s grant of leave is clearly

   sanctionable and should not be countenanced.


   B. CONCLUSION

         For the foregoing reasons, Defendant Exoo asks this Court to grant the relief

   requested in this motion.

   Dated:       December 15, 2021
                Melville, New York

                       Respectfully submitted,

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